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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS


 BRANDON AMMONS, individually and on behalf                                  CLASS ACTION
 of all others similarly situated,
                                                                                  Case No.
       Plaintiff,
                                                                       JURY TRIAL DEMANDED
 vs.

 FARMERS INSURANCE COMPANY, INC.,

   Defendant.
 _________________________________________/

                                     CLASS ACTION COMPLAINT

           1.       Plaintiff, Brandon Ammons (“Plaintiff”), brings this action against Defendant,

Farmers Insurance Company, Inc. (“Defendant”), to secure redress for violations of the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

                                        NATURE OF THE ACTION

           2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq., (the “TCPA”).

           3.       Defendant is an insurance company. To promote its services, Defendant engages in

unsolicited marketing, harming thousands of consumers in the process.

           4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and members

of the class, and any other available legal or equitable remedies.

                                       JURISDICTION AND VENUE

           5.       Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,
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which will result in at least one class member belonging to a different state than that of Defendant.

Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

jurisdiction are present.

        6.      Venue is proper in the United States District Court for the Northern District of Texas

pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

its services within this district thereby establishing sufficient contacts to subject it to personal

jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of Texas

and, on information and belief, Defendant has sent the same text messages complained of by Plaintiff

to other individuals within this judicial district, such that some of Defendant’s acts in making such calls

have occurred within this district, subjecting Defendant to jurisdiction in the State of Texas.

                                               PARTIES

        7.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Potter County, Texas.

        8.      Defendant is a Kansas corporation whose principal office is located at 6301

Owensmouth Ave., Woodland Hills, CA 91367. Defendant directs, markets, and provides its business

activities throughout the State of Texas.

        9.      Unless otherwise indicated, the use of Defendant’s name in this Complaint includes

all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives, vendors, and insurers of Defendant.

                                                 FACTS
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       10.     Over the two years, Defendant sent numerous telemarketing text messages to Plaintiff’s

cellular telephone number ending in 1980 (the “1980 Number”) including on February 28, 2020, May

14, 2020, and June 14, 2021:




       11.     On February 28, 2020, Plaintiff responded with the words “Will not do business

with mr musick.” “Remove me.” in an attempt to opt-out of any further text message

communications with Defendant.

       12.     Despite Plaintiff’s use of clear opt-out language, Defendant ignored Plaintiff’s opt-

out demand and continued to send Plaintiff another text messages on May 14, 2020.
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        13.     On May 14, 2020, Plaintiff responded to Defendant with another opt-out request

including the word “Stop!” in another attempt to opt-out of any further text message

communications with Defendant.

        14.     Despite Plaintiff’s repeated use of clear out-out language, Defendant again ignored

Plaintiff’s opt-out demand and sent Plaintiff another text message on June 14, 2021.

        15.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

the time frame relevant to this action.

        16.     Defendant’s text messages constitute telemarketing because they encouraged the future

purchase or investment in property, goods, or services, i.e., selling Plaintiff insurance services.

        17.     The information contained in the text message advertises Defendant’s various discounts

and promotions, which Defendant sends to promote its business.

        18.     Plaintiff received the subject texts within this judicial district and, therefore, Defendant’s

violation of the TCPA occurred within this district. Upon information and belief, Defendant caused

other text messages to be sent to individuals residing within this judicial district.

        19.     Defendant’s texts were not made for an emergency purpose or to collect on a debt

pursuant to 47 U.S.C. § 227(b)(1)(B).

        20.     Upon information and belief, Defendant does not have a written policy for

maintaining an internal do not call list pursuant to 47 U.S.C. § 64.1200(d)(1).

        21.     Upon information and belief, Defendant does not inform and train its personnel

engaged in telemarking in the existence and the use of any internal do not call list pursuant to 47

U.S.C. § 64.1200(d)(2).

        22.     At no point in time did Plaintiff provide Defendant with his express written consent to

be contacted.

        23.     To the extent that Defendant had express consent to contact Plaintiff using an ATDS,

that consent was expressly revoked when Plaintiff opted-out via text message.
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        24.     Plaintiff is the subscriber and sole user of the 1980 Number and is financially

responsible for phone service to the 1980 Number.

        25.     Plaintiff’s 1908 Number has been registered with the national do-not-call registry since

March 13, 2005 and at all times relevant to this action.

        26.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.

        27.     The text messages originated from telephone number 806-350-3131, a number

which upon information and belief is owned and operated by Defendant or on behalf of Defendant.

        28.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including

invasion of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

Defendant’s text messages also inconvenienced Plaintiff and caused disruption to his daily life.

                                       CLASS ALLEGATIONS

        PROPOSED CLASS

        29.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

himself and all others similarly situated.

        30.     Plaintiff brings this case on behalf of a Class defined as follows:

                     Do Not Call Registry Class: All persons in the United
                     States who from four years prior to the filing of this action
                     (1) were sent a text message by or on behalf of Defendant;
                     (2) more than one time within any 12-month period; (3)
                     where the person’s telephone number had been listed on
                     the National Do Not Call Registry for at least thirty days;
                     (4) for the purpose of selling Defendant’s products and
                     services; and (5) for whom Defendant claims (a) it did not
                     obtain prior express written consent, or (b) it obtained
                     prior express written consent in the same manner as
                     Defendant claims it supposedly obtained prior express
                     written consent to call the Plaintiff.
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                    Internal Do Not Call Class: All persons within the United
                    States who, within the four years prior to the filing of this
                    Complaint, were sent a text message from Defendant or
                    anyone on Defendant’s behalf, to said person’s cellular
                    telephone number after making a request to Defendant to
                    not receive future text messages.

       31.      Defendant and its employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class, but believes the Class members number in the several

thousands, if not more.

          NUMEROSITY

       32.      Upon information and belief, Defendant has placed violative calls to cellular telephone

numbers belonging to thousands of consumers throughout the United States who are registered on the

Do Not Call registry. The members of the Class, therefore, are believed to be so numerous that joinder

of all members is impracticable.

       33.      The exact number and identities of the Class members are unknown at this time and can

only be ascertained through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendant’s call records.

             COMMON QUESTIONS OF LAW AND FACT

       34.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                a) Whether Defendant violated 47 C.F.R. § 64.1200(c);

                b) Whether Defendant violated 47 C.F.R. § 64.1200(d);

                c) Whether Defendant’s conduct was knowing and willful;

                d) Whether Defendant adhered to requests by class members to stop sending text
                   messages to their telephone numbers;

                e) Whether Defendant keeps records of text recipients who revoked consent to receive
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                    texts.

                f) Whether Defendant has any written policies for maintaining an internal do not call

                    list.

                g) Whether Defendant violated the privacy rights of Plaintiff and members of the class;

                h) Whether Defendant is liable for damages, and the amount of such damages; and

                i) Whether Defendant should be enjoined from such conduct in the future.


        35.     The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

being efficiently adjudicated and administered in this case.

              TYPICALITY

        36.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.

              PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        37.     Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

              PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

        38.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,
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and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

        39.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

one court might enjoin Defendant from performing the challenged acts, whereas another may not.

Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                            COUNT I
                           Violation of the TCPA, 47 U.S.C. § 227
                   (On Behalf of Plaintiff and the Do Not Call Registry Class)

        40.     Plaintiff repeats and realleges the paragraphs 1 through 39 of this Complaint and

incorporates them by reference herein.

        41.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber who has

registered his or her telephone number on the national do-not-call registry of persons who do not wish

to receive telephone solicitations that is maintained by the federal government.”

        42.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any person

or entity making telephone solicitations or telemarketing calls to wireless telephone numbers.”1

        43.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any call

for telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing calls

made by or on behalf of that person or entity.”

        44.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this subsection

1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
153A1.pdf
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may” may bring a private action based on a violation of said regulations, which were promulgated to

protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object. 47 U.S.C. § 227(c).

        45.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry Class

members who registered their respective telephone numbers on the National Do Not Call Registry, a

listing of persons who do not wish to receive telephone solicitations that is maintained by the federal

government.

        46.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call Registry

Class received more than one telephone call in a 12-month period made by or on behalf of Defendant

in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s conduct as alleged

herein, Plaintiff and the Do Not Call Registry Class suffered actual damages and, under section 47

U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R.

§ 64.1200.

        47.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by

the members of the Do Not Call Registry Class.

                                             COUNT II
                          Violations of the TCPA, 47 U.S.C. § 227(c)(2)
                   (On Behalf of the Plaintiff and the Internal Do Not Call Class)

        48.     Plaintiff re-alleges and incorporates the foregoing allegations set forth in paragraphs 1

through 37 as is fully set forth herein.

        49.     The TCPA provides that any “person who has received more than one telephone call

within any 12-month period by or on behalf of the same entity in violation of the regulations prescribed

under this subsection may” bring a private action based on a violation of said regulations, which were
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promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations

to which they object. 47 U.S.C. § 227(c)(5).

       50.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has instituted

procedures for maintaining a list of persons who request not to receive telemarketing calls made by or

on behalf of that person or entity. The procedures instituted must meet certain minimum standards,

including:

       (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
       telemarketing purposes (or on whose behalf such a call is made) receives a request from
       a residential telephone subscriber not to receive calls from that person or entity, the
       person or entity must record the request and place the subscriber’s name, if provided,
       and telephone number on the do-not call list at the time the request is made. Persons or
       entities making calls for telemarketing purposes (or on whose behalf such calls are
       made) must honor a residential subscriber’s do-not-call request within a reasonable time
       from the date such request is made. This period may not exceed thirty days from the
       date of such request . . . .

       (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing
       purposes must maintain a record of a consumer’s request not to receive further
       telemarketing calls. A do-not-call request must be honored for 5 years from the time the
       request is made.

47 C.F.R. § 64.1200(d)(3), (6).

       51.     Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. § 64.1200(d) are applicable

to any person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers:

       (e) The rules set forth in paragraph (c) and (d) of this section are applicable to any person
       or entity making telephone solicitations or telemarketing calls to wireless telephone
       numbers to the extent described in the Commission's Report and Order, CG Docket No.
       02-278, FCC 03-153, “Rules and Regulations Implementing the Telephone Consumer
       Protection Act of 1991.

47 C.F.R. § 64.1200(e).

       52.     Plaintiff and the Internal Do Not Call Class members made requests to Defendant not

to receive calls from Defendant.
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          53.    Defendant failed to honor Plaintiff and the Internal Do Not Call Class members’

requests.

          54.    Upon information and belief, Defendant has not instituted procedures for maintaining a

list of persons who request not to receive telemarketing calls made by or on behalf of their behalf,

pursuant to 47 C.F.R. § 64.1200(d).

          55.    Because Plaintiff and the Internal Do Not Call Class members received more than one

text message in a 12-month period made by or on behalf of Defendant in violation of 47 C.F.R. §

64.1200(d), as described above, Defendant violated 47 U.S.C. § 227(c)(5).

          56.    As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the Internal

Do Not Call Class members are entitled to an award of $500.00 in statutory damages, for each and every

negligent violation, pursuant to 47 U.S.C. § 227(c)(5).

          57.    As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the Internal

Do Not Call Class members are entitled to an award of $1,500.00 in statutory damages, for each and

every knowing and/or willful violation, pursuant to 47 U.S.C. § 227(c)(5).

          58.    Plaintiff and the Internal Do Not Call Class members also suffered damages in the form

of invasion of privacy.

          59.    Plaintiff and the Internal Do Not Call Class members are also entitled to and seek

injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C. § 227(c)(5).

                                       PRAYER FOR RELIEF
          WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

relief:

    a) An order certifying this case as a class action on behalf of the Class as defined above, and

appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as Class Counsel;

    b) An award of actual and statutory damages for Plaintiff and each member of the Class;

    c) An order declaring that Defendant’s actions, set out above, violate the TCPA;
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    d) An injunction requiring Defendant to cease all unsolicited text messaging activity, and to

otherwise protect the interests of the Class;

    e) Such further and other relief as the Court deems necessary.

                                           JURY DEMAND

         Plaintiff and Class Members hereby demand a trial by jury.

                            DOCUMENT PRESERVATION DEMAND

        Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

databases or other itemizations associated with the allegations herein, including all records, lists,

electronic databases or other itemizations in the possession of any vendors, individuals, and/or

companies contracted, hired, or directed by Defendant to assist in sending the alleged communications.


Dated: January 28, 2022

 Shamis & Gentile, P.A.
 /s/ Andrew J. Shamis
 Andrew J. Shamis, Esq.
 Texas Bar No. 24124558
 ashamis@shamisgentile.com
 3839 McKinney Avenue
 Suite 155-2319
 Dallas, TX 75204
 Telephone: 305-479-2299

 Counsel for Plaintiff and the Class
